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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

wet vee, md
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IN RE: Chapter 11
AMERICAN HOME MORTGAGE Case No. 07-11047(CSS)=-

“ an
HOLDINGS, INC. et al 8

A Delaware corporation
Debtors

Judicial Notice: Second Attempt to Deliver Proof of Claim

- Comes Now, Hussain Kareem, Creditor in the above action, re-submitting his B-10 Proof of

Claim with Motion to Admit Claim, pro nunc tunc, due to the inability of the United States Post
office to deliver by Certified mail the first set of documents . The excusable circumstance was
beyond the claimants control and is enumerated as follows:

1

On January 5", 2011, Claimant sent the above said proof of claim with supporting documents by
certified mail no. 71969006 9820 3903 9760 to the United States Bankruptcy Court for the
District of Delaware (See Exhibit A Track & Confirm). The package was discovered not
delivered or mishandled after repeated inquiries by the claimant on January 18, 2011.

2

On January 5", 2011, Claimant sent the same above said proof of claim with supporting
documents by certified mail no. 71969006 9820 6105 2287 to the Plan Trustee, Steven Stass,
AHM Liquidating Trust (See Exhibit B Track & Confirm). This package was not delivered until
January 14, 2011, (emphasis supplied).

3

It has been duly noted that inclimant weather has caused delays and mishandling of these time
sensitive documents. The weather has caused for the bankruptcy court to be either closed or
delayed opening during this prolonged period of time, too. Thus, claimant has been forced to re-
send his copy, nunc pro tunc, to this honorable court along with this judicial notice as an
inadvertent delay, beyond the scope and control of the claimants ability to deliver the
documents. The second attempt has been made by overnight U.S. Express Mail No. EG
679601120 US.

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Relief Sought

Claimant seeks to have his administrative claim accepted nunc pro tunc.

e Prima facie evidence shows his full attempts to file timely, but after depositing the
documents with an official carrier meeting the Postmarked Mail Box Rule of the Federal
Rules of Civil Procedures, the U.S. Postal service failed to deliver the documents.

e Claimant shows that the Plan Trustee did get their copy. Therefore, Claimant requests a
full review of his administrative claim as set forth in his Motion to attached
contemporaneously.

e Claimant notifies this honorable court of a reasonable delay which should impede and
penalties against accepting the claim.

e Claimant sayeth no more.

With all due respect to this Court,

“Tt “ i, 19" pf4 a 2011

Hussain Kareem, I R. R

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